           Entered on Docket June 6, 2013                       Below is the Judgment of the Court.




                                                                __________________________
 1
                                                                Timothy W. Dore
 2                                                              U.S. Bankruptcy Court Judge
                                                                (Dated as of Entered on Docket date above)

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10                          UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE
11

12
     IN RE:
13                                                           Case No. 13-10691-TWD
     Barjinder Singh and Harbhajan Kaur,
14                                                           Adversary No. 13-01247-TWD
15
                                  Debtors.
16
                                                             JUDGMENT
     _______________________________________
17
     Barjinder Singh and Harbhajan Kaur,
18
                                  Plaintiffs,
19
     v.
20
     Key Bank, N.A.,
21
                                  Defendant.
22

23
              THIS MATTER having come Ex-Parte before the Judge of the above-entitled Court upon
24
     the Stipulation entered into by Plaintiffs Barjinder Singh and Harbhajan Kauer (“Debtors”), by
25
     and through their counsel Christina L. Henry, and KeyBank, N.A., through their representative,
26
     Milan Kubat of Weltman, Weinberg & Reis Co., LPA, NOW THEREFORE, it is hereby:
27
     JUDGMENT                                                                 HENRY DEGRAAFF &
                                                                               MCCORMICK, P.S.
                                                                             1833 N 105TH ST., STE 200
                                                                           SEATTLE, WASHINGTON 98133
                                                                              telephone (206) 330-0595
          Case 13-01247-TWD      Doc 6      Filed 06/06/13    Ent. 06/06/13 08:22:50           Pg. 1 of 2
                                                                                  fax (206) 400-0595
                                                               Below is the Judgment of the Court.



            ORDERED that KeyBank, N.A.’s Deed of Trust recorded in Washington State in King
 1

 2   County real estate records under Recording No. 20071017001908 is a completely unsecured lien

 3   on the property located at 4458 S 188th Pl, Seatac, WA 98188-5035 (“Residence).

 4          IT IS FURTHER ORDERED that said lien is hereby avoided pursuant to 11 U.S.C. §506
 5   and §1322 and is no longer a lien against Plaintiff’s Residence. PROVIDED that if this case is
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     dismissed or converted to one under Chapter 7, the avoided Deed of Trust is reinstated as a lien
 7
     against the above-described Residence.
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            IT IS FURTHER ORDERED that Defendant's claim shall be treated as a general
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10   unsecured claim for purposes of this chapter 13 bankruptcy.

11                                         //END OF ORDER//

12
        Presented by:
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14      HENRY, DEGRAAFF & MCCORMICK. P.S.

15      By:/s/ Christina L Henry
        Christina Latta Henry, WSBA #31273
16      Attorney for Debtors
        Respectfully Submitted
17

18      Agreed as to Form by:

19
        WELTMAN, WEINBERG & REIS CO., LPA
20
        By: /s/Milan Kubat
21      Milan Kubat, Authorized agent for KeyBank, N.A.
22      323 W. Lakeside Ave,
        Suite 200
23      Cleveland, OH 44113-1099

24

25
26

27
     JUDGMENT                                                               HENRY DEGRAAFF &
                                                                             MCCORMICK, P.S.
                                                                            1833 N 105TH ST., STE 200
                                                                          SEATTLE, WASHINGTON 98133
                                                                             telephone (206) 330-0595
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